
Damoorgian, J.
The State appeals from the trial court's order converting the defendant's probation *400to administrative probation. Days after the trial court sentenced the defendant to one year of probation in accordance with the parties' plea agreement, the defendant moved to have his probation converted to administrative probation. Over objection by the State, the court granted the defendant's motion. Because only the Department of Corrections can transfer a probationer to administrative probation and only upon the satisfactory completion of half the term of probation, we reverse and remand with instructions to resentence the defendant. State v. Nazario , 100 So.3d 1246, 1247 (Fla. 4th DCA 2012).
Reversed and remanded for reinstatement of supervised probationary sentence for the balance of the probationary term remaining .
Gross and Ciklin, JJ., concur.
